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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

ELIZABETH CHAN, et al.,

                    Plaintiffs,

              v.
                                                               No. 23 Civ. 10365 (LJL)
UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,

                    Defendants.


MICHAEL MULGREW, et al.,

                   Plaintiffs,
                                                               No. 24 Civ. 1644 (LJL)
             v.
                                                              NOTICE OF MOTION
UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,

                   Defendants.


        PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support
of the Federal Defendants’ Cross-Motion for Summary Judgment and in Opposition to Plaintiffs’
Motion for Summary Judgment, the Federal Defendants, by their attorney, Damian Williams,
United States Attorney for the Southern District of New York, hereby move this Court for an order
dismissing the Amended Complaints pursuant to Rules 56 of the Federal Rules of Civil Procedure.

Dated: December 9, 2024
       New York, New York
                                            DAMIAN WILLIAMS
                                            United States Attorney
                                            Southern District of New York

                                     By:    /s/ Zachary Bannon
                                            ZACHARY BANNON
                                            DOMINIKA TARCZYNSKA
                                            Assistant United States Attorneys
                                            86 Chambers Street, Third Floor
                                            New York, New York 10007
                                            Tel.: (212) 637-2728
